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                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION


UNITED STATES OF AMERICA,                            *
                                                     *
                          vs.                        *        No. 4:01CR00212 SWW
                                                     *        (No. 4:07CV123 SWW)
FONTAINE DEMMOND SHERMAN                             *
                                                     *

                                                  Order

        The Court received a letter from petitioner with an attached affidavit from his former

attorney, claiming the prosecutor withheld exculpatory evidence. The Court interprets the

correspondence as a motion pursuant to 28 U.S.C. § 2255.

        Petitioner filed a § 2255 petition in February 2007 which was denied. The Eighth Circuit

denied his application for a certificate of appealability. See docket entries 839, 855, and 874.

He is now barred from filing a second or successive petition without authorization from the

Eighth Circuit Court of Appeals.1 See 28 U.S.C. §§ 2244 and 2255.

        IT IS THEREFORE ORDERED that the motion is denied without prejudice to

petitioner’s moving in the United States Court of Appeals for the Eighth Circuit for an order

authorizing this court to consider a second or successive application under 28 U.S.C. § 2255.

        DATED this 18th day of March 2008.

                                                          /s/Susan Webber Wright
                                                          UNITED STATES DISTRICT JUDGE


        1
         A second or successive motion must be certified as provided in section 2244 by a panel of the
appropriate court of appeals to contain - (1) newly discovered evidence that, if proven and viewed in light
of the evidence as a whole, would be sufficient to establish by clear and convincing evidence that no
reasonable factfinder would have found the movant guilty of the offense; or (2) a new rule of constitutional
law, made retroactive to cases on collateral review by the Supreme Court, that was previously unavailable.
28 U.S.C. 2255.
